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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                   Plaintiffs,                                 4:14CR3051
      vs.
                                                    MEMORANDUM AND ORDER
BILLY J. SCHRADER,
                   Defendants.

      Defendant has orally moved to continue defendant’s change of plea hearing
because the parties need additional time to engage in plea discussions. The court finds
the motion should be granted. Accordingly,

      IT IS ORDERED:

      1)     Defendant’s requested continuance is granted.

      2)     The defendant's plea hearing will be held before the undersigned magistrate
             judge on August 26, 2014 at 2:00 p.m.. The defendant is ordered to appear
             at this hearing.

      3)     For the reasons stated by counsel in the motion, the Court finds that the
             ends of justice served by continuing defendant's plea hearing outweigh the
             best interest of the defendant and the public in a speedy trial. Accordingly,
             the time between today's date and the district court judge's acceptance or
             rejection of the anticipated plea of guilty shall be excluded for speedy trial
             calculation purposes. 18 U.S.C. § 3161(h)(7).


      August 4, 2014
                                                 BY THE COURT:
                                                 s/ Cheryl R. Zwart
                                                 United States Magistrate Judge
